                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

   ISABEL ZELAYA, et al.,                         )
                                                  )         Case No. 3:19-cv-62
          Plaintiffs,                             )
                                                  )         Judge Travis R. McDonough
   v.                                             )
                                                  )         Magistrate Judge Christopher H. Steger
   ROBERT HAMMER, et al.,                         )
                                                  )
          Defendants.                             )


                                               ORDER



          Before the Court is the parties’ joint motion to dismiss Plaintiff Luis Bautista Martínez’s

   individual claims (Doc. 576). The motion is GRANTED. Plaintiff Bautista Martínez will

   proceed in this action as a putative class member per the terms of the parties’ agreement and his

   individual claims are hereby DISMISSED. (Id.) The IRS Planner Defendants’ motion to strike

   (Doc. 578) is DENIED AS MOOT.

          SO ORDERED.

                                                /s/ Travis R. McDonough
                                                TRAVIS R. MCDONOUGH
                                                UNITED STATES DISTRICT JUDGE




Case 3:19-cv-00062-TRM-CHS Document 579 Filed 02/02/22 Page 1 of 1 PageID #: 6579
